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IN THE UNITEI) STATES DISTRICT coURT 055ij
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FOR THE WES'I`ERN DISTRICT OF TENNESSEE 45 @, 0
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EASTERN DIVISION l O;;:Q/G
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FELISHA HINSON, )
PLAINTIFF, )

VS. ) CIVIL ACTION NO.: l:04cv1323-T/An

WAL-MART STORES, INC.; )
WAL-MART REAL ESTATE )
BUSINESS TRUST; WAL-MART )
ASSOCIATES, INC.; WAL-MART )
REALTY COMPANY; WAL-MART )
STORES EAST, INC.; WAL-MART )
STORES EAST, LP, )
DEFENDANTS. )

 

 

RULE lG§b[ SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are
established as the final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1):
June 10, 2005
JOINING PARTIES:
For Plaintift`: July 27, 2005

For Deferlda.nt: August 29, 2005

Th|s document entered on the docket sheet ln corr(\§li§\ce
with Hule 58 and,’or_?Q (a) FFICP on

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AMENDING PLEADINGS:
For Plaintiff: July 27, 2005

For Defendant: August 29, 2005

COMPLETING ALL DISCOVERY:
January 27, 2006
(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
and REQUESTS FOR ADMISSIONS:

Januai'y 27, 2006

(b) EXPERT DISCLOSURE (Rule 26(a)(2):
(i) Plaintift’ s Experts: October 28, 2005
(ii) Defendant’s Experts: November 28, 2005
(iii) Supplementation under Rule 26 (e): December 8, 2005
(c) DEPOSITIONS OF EXPERTS:
January 27, 2006
FILING DISPOSITIVE MOTIONS:
January 3, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3):
(a) For Plaintiff: February 17, 2006
(b) For Defendant: March 6, 2006
Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).
The trial of this matter is expected to last 3 days and is SET for JURY TRIAL on April

3, 2006 at 9:30 a.rn. A joint pretrial order is due on Ma;rch 24, 2006. In the event the parties are
unable to agree on a joint pretrial order, parties must notify the court at least ten days before trial.

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OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For exarnple, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if` the default occurs Within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response
or answer shall be waived.

The parties are reminded to pursue to Local Rule 7(a)(1)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order
and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that Will not be continued unless a
continuance is agreed to by all parties, or an emergency arises Which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discovery.

This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended.

IT IS SO ORDERED

§ "”*
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: W)"? Li[' zm(

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APPROVED FOR ENTRY:

JONES, HAMILTON & LAY, P.L.C.
Attomeys at Law

P.O. Box 763

Dyersburg, TN 38025-0763

(731) 286-5323

  
  
  

  

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B.P.R. No.: 010'22
Attorney for Plaintif`f`

BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ
Attomeys at Law

165 Madison Avenue, Suite 2000

Memphis, TN 38103

(901) 526-2000
f
Byi _QM.QML;§B/§_&¢ 50772, 51ijsz éc
Chnton J. Slmpson
B.P.R. No.: 20284
Attorney for Defendants

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case l:04-CV-01323 Was distributed by f`aX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Clinton J. Simpson

BAKER DONELSON BEARMAN & CALDWELL
20th Floor

165 Madison Avenue

l\/lemphis7 TN 38103

Jeffrey L. Lay

FARMER JONES HAl\/[[LTON & LAY
P.O. Box 763

Dyersburg, TN 38025--076

Honorable .l ames Todd
US DISTRICT COURT

